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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


DONNA CURLING, et al.,                     :
                                           :
                                           :
       Plaintiffs,                         :
                                           :
v.                                         :         CIVIL ACTION NO.
                                           :         1:17-CV-2989-AT
BRAD RAFFENSPERGER, et al.,                :
                                           :
                                           :
       Defendants.                         :


                                      ORDER

      The Court will hold a telephone conference with counsel at 1:15 pm on

August 5, 2020 regarding Plaintiffs’ request for expedited discovery and the

contents of that request. (Doc. 752). In that connection:

      1.       Plaintiffs   should   be   prepared   to   explain   their   Rule   34

Inspection/Production request that is tucked into footnotes 8 and 9 of Doc. 752

and the second bullet in the main text of their brief at page 3 (Doc. 752, p. 3.) All

parties should be prepared to discuss to what extent observation capacity via video

transcription of processes (such as testing and set-up of equipment and scanner

operations or other processes) that can properly be effectuated via videotape and

thus satisfy the purpose of some of the inspection/production requests.
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      2.      Plaintiffs should be prepared to address more specifically what they

view as entailed within their document requests for adjudicated ballot images and

mail ballots. (Doc. 552 at p. 5)

      3.      In addition, as relevant, Plaintiffs should be prepared to address

questions from the Court regarding the scope of documents or information they

view as falling within each of their bulleted requests in Document 752, if the Court

determines that further information is needed on an expedited basis and there is

time for such discussion.

      4.      By noon on August 5, 2020, Plaintiffs shall email opposing counsel,

with a copy to Deputy Clerk Harry Martin for the Court, an itemized list of what

discovery they deem essential to conduct and complete within the next 35 days.

Plaintiffs shall take into account that the Court does not view the full proposed plan

submitted (Doc. 752) as pragmatically manageable in the time frame outlined and

under the current election circumstances. The parties should also be prepared to

address alternate time frames at the hearing.

      IT IS SO ORDERED this 5th day of August, 2020.


                                       ___________________________
                                       AMY TOTENBERG
                                       UNITED STATES DISTRICT JUDGE




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